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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION

        MATCH GROUP, LLC


                 Plaintiff,
                                                           No. 6:18-cv-00080-ADA
        v.

        BUMBLE TRADING INC. and                            JURY TRIAL DEMANDED
        BUMBLE HOLDING, LTD.,

                 Defendants.



   JOINT CLAIM CONSTRUCTION STATEMENT OF DISPUTED CLAIM TERMS

       Pursuant to the Court’s Scheduling Order, Dkt. 73, Plaintiff Match Group, LLC and

Defendants Bumble Trading Inc. and Bumble Holding, Ltd. submit this Joint Claim Construction

Statement of Disputed Claim Terms for the asserted claims of U.S. Patent No. 9,733,811 (the “’811

Patent”), U.S. Patent 9,959,023 (the “’023 Patent”), and U.S. Patent No. 10,203,854 (the “’854

Patent”).




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            DISPUTED CLAIM CONSTRUCTIONS FOR MATCH GROUP, LLC V. BUMBLE
                          TRADING INC., CASE NO. 18-CV-080-ADA

                      1.      Disputed Term No. 1 -- “Graphical Representation”1;

   Patent                  Match’s Construction2                                Bumble’s Construction3
  Claims
’811          Pictorial portrayal                                   summary of information
Patent,                                                             [displayed on a graphical user
claims 1,     Pictorial portrayal of a [first, second, third,       interface]
4, and 7      etc.] potential match
                                                                    summary of information
’023          Pictorial portrayal of a first [second] online        [displayed on a graphical user
Patent,       dating profile associated with a first [second]       interface] representing a [first, second, third,
claims 1,     user                                                  etc.] potential match
2, 3, and 5
              Pictorial portrayal of a first item of                summary of information
’854          information                                           [displayed on a graphical user
Patent,                                                             interface] representing a first [second] online
claims 1,     Pictorial portrayal of the first [second] user.       dating profile associated with a first [second]
4, 7, and                                                           user
10
                                                                    summary of information
                                                                    [displayed on a graphical user
                                                                    interface] representing a first item of
                                                                    information

                                                                    summary of information
                                                                    [displayed on a graphical user
                                                                    interface] representing the first [second] user.




       1
        The parties have also proposed constructions for the broader phrases “a graphical representation
       of a [first, second, third, etc.] potential match”, “a graphical representation of a [first, second]
       online dating profile associated with a [first, second] user”, “a graphical representation of a [first,
       second] item of information, and “a graphical representation of the [first, second] user.”
       2
        Match also proposed an alternative phrasing of this construction as “portrayal, including some
       pictorial component, of . . . .”
       3
         Where the claims elements that contain the term “graphical representation” make clear that the
       “graphical representation” is displayed on a graphical user interface, the bracketed term [displayed
       on a graphical user interface] may be omitted from the construction inserted into the claim
       language.
                                                                2
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                     2.      Disputed Term No. 2 -- “Without Allowing Communication”

   Patent                 Match’s Construction                            Bumble’s Construction4
  Claims
’854          Plain and ordinary meaning; no construction       An affirmative act to ensure no communication
patent,       necessary                                         between two users
claims 1,
3, 4, 6, 7,
and 10

                     3.      Disputed Term No. 3 -- “Preventing Communication”

   Patent                 Match’s Construction                            Bumble’s Construction5
  Claims
’811          Plain and ordinary meaning; no construction       An affirmative act to ensure no communication
Patent,       necessary                                         between two users
claims 1,
4, and 7

                     4.      Disputed Term No. 4 -- “Social Networking Platform”

   Patent                 Match’s Construction                             Bumble’s Construction
  Claims
’811          Plain and ordinary meaning; no construction       Social networking platform independent of the
Patent,       necessary                                         system for profile matching
claims 1,
4, and 7
’854
Patent,
claims 2,
5, 8, and
11




       4
        Bumble also proposed the alternative construction of the broader terms “without allowing
       communication between the first user and the third [fourth] user” and “without allowing the first
       user to communicate with the third user” as “upon performing an affirmative act to ensure no
       communication between the first user and the third [fourth] user.”
       5
          Bumble also proposed the alternative construction of the broader term “prevent[ing]
       communication between the first and the third [fourth] user” as “perform[ing] an affirmative act
       to ensure no communication between the first and the third [fourth] user.”
                                                            3
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                      5.      Disputed Term No. 5 -- “Associated”

   Patent                  Match’s Construction                               Bumble’s Construction
  Claims
’811           Plain and ordinary meaning; no construction       Indefinite
patent,        necessary
claims 1, 3
4, 6,
and 7

’023
patent,
claims 1-6

’854
patent,
claims 1, 2,
4, 5,
7, 8, 10,
and 11

                      6.      Disputed Term No. 6 -- “text area”

   Patent                  Match’s Construction                               Bumble’s Construction
  Claims
’811           Not indefinite. “The text area” in claims 2       Indefinite
patent,        and 5 is an obvious typographical error that is
claims 2, 5,   subject to judicial correction. “The text area”
and 8          should read “a text area.” Otherwise, plain
               and ordinary meaning.




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DATED: May 29, 2019                     Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel registered as Filing Users on this 29th day of May, 2019.

                                                           /s/ Bradley W. Caldwell
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